Filed 11/04/19                              Case 19-21640                              Doc 172




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            8                      UNITED STATES BANKRUPTCY COURT

            9                        EASTERN DISTRICT OF CALIFORNIA

           10                               SACRAMENTO DIVISION

           11                                          Case No.     19-21640
                 In re
           12                                          Chapter 7
                 DEBORA LEIGH
           13    MILLER - ZURANICH                     DCN: DTK-2

           14                     Debtor.              MEMORANDUM OF POINTS AND
                                                       AUTHORITIES IN SUPPORT OF
           15                                          MOTION FOR IN REM
                                                       RELIEF FROM AUTOMATIC
           16                                          STAY
                                                       (11 U.S.C. § 362(d)(4)(B))
           17
                                                       DATE:        December 3, 2019
           18
                                                       TIME:        9:30 a.m.
           19
                                                       DEPARTMENT B
           20                                          COURTROOM 32
                                                       501 I Street, Sixth Floor
           21                                          Sacramento, California

           22

           23

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                    MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                      AUTOMATIC STAY
Filed 11/04/19                                            Case 19-21640                                                             Doc 172




            1

            2                                               TABLE OF CONTENTS

            3    I.       INTRODUCTION ...............................................................................................

            4    II.      STATEMENT OF FACTS ..................................................................................

            5    III.     THE STANDARDS FOR IN REM RELIEF ARE MET HERE ........................

            6    IV.      IN REM RELIEF IS NECESSARY ....................................................................

            7    V.       GRANTING RELIEF WOULD HAVE NO IMPACT ON CREDITORS .........

            8    VI.      CONCLUSION ....................................................................................................

            9

           10
           11

           12

           13
           14

           15

           16

           17

           18

           19

           20

           21

           22
           23

           24
                                                  i
                        MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                          AUTOMATIC STAY
Filed 11/04/19                                              Case 19-21640                                                               Doc 172




            1                                              TABLE OF AUTHORITIES

            2    CASES

            3    In re Briggs,
                     2012 WL 3780542 (Bankr. N.D. Ill. 2012) .............................................................. 8
            4
                 In re Duncan & Forbes Dev., Inc.,
            5        368 B.R. 27 (Bankr. C.D. Cal. 2006)........................................................................ 8
            6    In re Tejal Inv., LLC,
                     2012 WL 6186159 (Bankr. D. Utah 2012) ............................................................... 8
            7
                 STATUTES
            8
                 11 U.S.C. §341a ......................................................................................................... 1, 8
            9
                 11 U.S.C. § 362(c)(4)(A) ........................................................................................... 5, 9
           10
           11    11 U.S.C. §362(d)(4) .......................................................................................... 1, 7, 8, 9

           12    11 U.S.C. §363(j) ........................................................................................................... 9

           13
           14

           15

           16

           17

           18

           19

           20

           21

           22
           23

           24
                                               ii
                      MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                        AUTOMATIC STAY
Filed 11/04/19                                  Case 19-21640                                           Doc 172




            1    I.     INTRODUCTION

            2           This Motion is brought by Hall Mortgage Company, the lender under a first

            3    trust deed loan on property known as 549 Lakeshore Blvd, #29, Incline Village,

            4    Nevada. The loan has been in default since July, 2017. A series of attempted

            5    foreclosures has been thwarted by a string of bankruptcy petitions, all of them

            6    commenced under chapter 13, filed by same Debtor in two different districts.

            7           After each foreclosure sale was derailed, the Debtor allowed her prior three
            8    chapter 13 cases to be dismissed for failure to prosecute. In those cases, she failed

            9    even to appear at any of the meetings of creditors scheduled under 11 U.S.C. §341a.

           10           The Incline Village property is not owned by the Debtor. It is owned by an
           11    irrevocable trust established by the Debtor’s deceased father, Joseph Miller. The

           12    Debtor Debora Miller-Zuranich is the trustee under the Joseph Miller Trust. Under an

           13    amendment to the Trust Agreement executed by Joseph Miller shortly before his
           14    death, the Incline Village property is to be distributed equally to four Miller siblings,

           15    of which the Debtor is one. This Amendment provides that the distribution cannot

           16    take place until fifteen years after Joseph Miller’s death. That anniversary will be in

           17    the year 2027.

           18           The Debtor might argue that the automatic stay protects her interest in the

           19    Incline Village property, since she is entitled to receive the distribution of a one

           20    quarter interest in the property in 2027. While the applicability of the automatic stay

           21    debatable, it is nevertheless quite clear that the instant bankruptcy case was filed as

           22    part of an ongoing scheme to abuse the bankruptcy system, and that in rem relief from
           23    whatever stay might exist is required under 11 U.S.C. §362(d)(4).

           24
                                               1
                      MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                        AUTOMATIC STAY
Filed 11/04/19                                  Case 19-21640                                          Doc 172




            1            The Declaration of Ronda McNeff, filed herewith, shows that Debora Miller-

            2    Zuranich acted in concert with her brother, John Miller. For example, it was John

            3    Miller who contacted Hall Mortgage about the foreclosure on “his property” and who

            4    conveyed news of the Debora’s bankruptcy filing. John Miller was in continuous

            5    contact with Hall Mortgage, telling tales about his efforts to refinance. It appears that

            6    his sister Debora was acting in effect on behalf of the Miller family in filing this series

            7    of bad faith petitions to keep the foreclosures at bay. Most recently, Hall Mortgage
            8    was approached by the Debtor’s sister, Beverley Sopak, about a scheme to transfer the

            9    Incline Village property out of the Joseph Miller Trust, in violation of its provisions.

           10            The Millers seem to have little respect for the law and no qualms about using
           11    bogus bankruptcy filings, and even a contemplated illegal transfer of the Incline

           12    Village property, to stave off foreclosure. Only one remedy will do the job here, and

           13    that is in rem relief from the automatic stay.
           14    II.     STATEMENT OF FACTS

           15            According to the public record, the Incline Village Property was transferred to

           16    the Joseph J. Miller Living Trust dated October 8, 2007, by deed recorded on October

           17    7, 2011. (Request for Judicial Notice filed herewith (“RJN”) Exh 6). Joseph Miller

           18    died on September 7, 2012 as evidenced by his Death Certificate (RJN Exh 4). The

           19    Hall Mortgage Loan, in the original principal amount of $700,000.00, was secured by

           20    a first deed of trust recorded December 29, 2016 (RJN Exh 2). The loan documents

           21    were executed on behalf of the Trust by “Debora L. Miller, Successor Trustee.”

           22    ///

           23    ///

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                                                2
                       MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                         AUTOMATIC STAY
Filed 11/04/19                                 Case 19-21640                                          Doc 172




            1          At the time that the original loan was made, Hall Mortgage was provided with a

            2    copy of the Trust Agreement establishing the Joseph J. Miller Trust. That document is

            3    100 pages long. Only relevant portions have been attached to the McNeff Declaration.

            4    (McNeff Decl. p. 2 ¶ 3, Exh 3). The Trust Agreement (Art. 6 sec. 1, Mc Neff Decl.

            5    Exh. 3 p. 20) provides that it becomes irrevocable upon Joseph Miller’s death.

            6          Three amendments to the Joseph Miller Trust were not disclosed to Hall

            7    Mortgage until a short time ago, in connection with a proposal by Beverley Sopak for
            8    a “sale” of the Incline Village property. The Third Amendment (McNeff Decl. Exh 5),

            9    executed by Joseph Miller about two months before his death, provides in part as

           10    follows:
           11                        14. My real property located at 549 Lakeshore Boulevard,
                               Unit 29 in Incline Village, Nevada . . . shall be retained in a Sub-
           12                  Trust named the Tahoe Sub-Trust. The assets shall be retained in
                               the Tahoe Sub-Trust subject to any encumbrances thereon and the
           13                  Trustee may rent the assets to produce income. The Tahoe Sub-
                               Trust will be governed by the provisions set forth in the Joseph J.
           14                  Miller Living Trust dated October 8, 2007 as amended, except that
                               the Tahoe Sub-Trust will distribute fifteen years after my date of
           15                  death in equal shares to my four children by right of
                               representation: Kimberley Miller, Debora Miller, Beverley Sopak
           16                  and John Miller. [italics added]

           17          The Hall Mortgage loan, made in November, 2016 in the original principal

           18    amount of $700,000.00, provided for monthly payments until December 21, 2021, the

           19    maturity date. The loan is currently in default for failure to make the payment which

           20    became due in July, 2017, and all subsequent payments. The loan is also in default for

           21    failure to pay real property taxes, which have been delinquent since 2015 and now

           22    total $26,575.41, and for failure to pay HOA assessments totaling over $20,446.53.
           23    The current balance of the Hall Mortgage loan is about $847,684.38. (McNeff Decl.

           24    ¶4 pp. 2-3)
                                             3
                    MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                      AUTOMATIC STAY
Filed 11/04/19                                 Case 19-21640                                           Doc 172




            1            From about the time that the loan was procured, Ms. McNeff, in her capacity as

            2    servicing agent for Hall Mortgage, was in regular communication with the Debtor’s

            3    brother, John R. Miller. Based on these communications, it was clear to Ms. McNeff

            4    that John Miller, and not his sister Debora, was making decisions with respect to the

            5    Incline Village property. (McNeff Decl. ¶¶ 5-6 p. 3)

            6            Foreclosure of the Deed of Trust was first commenced by the recording of a

            7    Notice of Default on April 6, 2018. At John Miller’s request Hall Mortgage delayed to
            8    set a sale date, based on upon his representation that a sale of property in Oakland

            9    California was pending, and that the sale proceeds would be used to cure the default

           10    on the Incline Village property. The promised cure payment was never received.
           11            Nevada law limits the number of times that a trustee’s sale may be postponed

           12    by announcement. After the third postponement, a new Notice of Trustee’s Sale must

           13    be issued. A new Notice of Trustee’s Sale was recorded on August 24, 2018,
           14    scheduling the sale date for September 19, 2018. On the day before that sale, Hall

           15    Mortgage was notified that Debora Miller-Zuranich had filed a Chapter 13 bankruptcy

           16    petition, Case No. 18-31023 in the Northern District of California. (McNeff Decl. ¶8

           17    p. 3)

           18            Debora Miller-Zuranich continued to work the system by filing three more

           19    Chapter 13 bankruptcy petitions. The McNeff Declaration recounts in detail the

           20    thwarted foreclosure attempts. Those facts need not be repeated in detail here, but

           21    they are summarized in the table below. Dockets for the three preceding cases are

           22    attached to the Request for Judicial Notice.
           23    ///

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                                                4
                       MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                         AUTOMATIC STAY
Filed 11/04/19                                  Case 19-21640                                         Doc 172




            1    District / Case No. Date Filed Date Dismissed         Comments
                 N.D. Cal.           9/18/18    11/8/18                Filed one day before the
            2    18-31023                                              scheduled Hall Mortgage
            3                                                          trustee’s sale
                 N.D. Cal.            11/20/18      12/21/18           Filed 13 minutes before the
            4    18-31252                                              Hall Mortgage Trustee’s
                                                                       sale, making it necessary to
            5                                                          rescind the completed sale
                 N.D. Cal.            1/11/19       1/28/19            Prevented renewal of the
            6    19-30034                                              Hall Mortgage foreclosure
            7    E.D. Cal.            3/18/19       Current case       Filed the day of the
                 19-21640                                              scheduled Hall Mortgage
            8                                                          trustee’s sale.

            9
                       As set forth in detail in the McNeff Declaration, protective provisions included
           10
                 in amendments to section 362 under BAPCPA have been of no practical help in
           11
                 allowing completion of the Hall Mortgage foreclosure. Under 11 U.S.C. §
           12
                 362(c)(4)(A), no automatic stay even arose upon the filing of the petitions
           13
                 commencing this bankruptcy case and the one preceding it. Nevertheless, the
           14
                 foreclosure trustee, and another consulted as a possible substituted trustee, would not
           15
                 complete the pending foreclosure without a prior court order entered in the most
           16
                 recent bankruptcy case (McNeff Decl. ¶11 p. 4)
           17
                       Schedule A/B filed by the Debtor in propria persona on May 5, 2019 (Docket
           18
                 No. 31) lists the Incline Village property and states that the “nature of your ownership
           19
                 interest” is “Trustee of the Joseph J. Miller Trust.” That is consistent with the
           20
                 recorded vesting deed and the Hall Mortgage loan documents. Schedule A Part 9, item
           21
                 23 answers the question “Do you own or control property that someone else owns?”
           22
                 by stating “Yes” and referring to the “condo located on Lake Tahoe” as owned by the
           23
                 Joseph J. Miller Trust.
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                                             5
                    MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                      AUTOMATIC STAY
Filed 11/04/19                                 Case 19-21640                                           Doc 172




            1          On May 29, 2019, Mr. Cianchetta filed a substitution of attorney, appearing as

            2    counsel for the Debtor. On that same day, he submitted an amendment to Schedule A

            3    (Docket No. 46) which changed the information shown for the Incline Village

            4    property. Mr. Cianchetta omitted from the amended Schedules any reference to the

            5    Joseph J. Miller Trust (other than showing the Trust as a “Co-Debtor” on Schedule

            6    H). Amended Schedule A now falsely states that the Incline Village property is owned

            7    by the Debtor in “Fee Simple.” Schedule A Part 9 Item 23 answers the question “Do
            8    you own or control property that someone else owns?” by stating “No.” Hall

            9    Mortgage is not aware of any change in title to the Incline Village property. As

           10    indicated by the trust documents, the property could not have been distributed by the
           11    Joseph J. Miller Trust to the Debtor in “Fee Simple.” It appears that this amendment

           12    to Schedule A was a falsehood intended to wrongly invoke the automatic stay.

           13          Hall Mortgage did not take immediate action to obtain relief from the automatic
           14    stay in this latest bankruptcy case because Ms. McNeff was contacted by Ms.

           15    Beverley Sopak, the Debtor’s sister. Ms. Sopak told McNeff that she and the other

           16    siblings of the Miller family were making arrangements for the Trust to sell the

           17    property to her and her husband Kelly Sopak. (McNeff Decl. ¶¶ 13-14, p. 5)

           18          An escrow was opened at First American Title for what Ms. McNeff was told

           19    would be a sale of the property by the Trust to the Sopaks. However, based on later

           20    discussions with Beverly Sopak, and based upon the documentation (actually, the lack

           21    of same) relating to the purported sale of the Incline Village Property, it became clear

           22    that there was no actual purchase agreement between the Sopaks and the Trust, and
           23    that the Debtor, and the Sopaks, intended to transfer the property out of the Trust

           24    without paying its reasonably equivalent value into the Trust. Ms. McNeff was also
                                                           6
                    MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                                 AUTOMATIC STAY
Filed 11/04/19                                    Case 19-21640                                            Doc 172




            1    told by Ms. Sopak that the transfer was intended to put the property “in the name of”

            2    the Sopaks. (McNeff Decl. ¶ 15 pp. 5-6)

            3             After consulting with its attorney, Hall Mortgage has determined that no title

            4    insurance company, if fully apprised of the facts, would issue a lender’s policy as to

            5    any new or refinanced loan made in connection with a transfer of the Incline Village

            6    property to one or more of the beneficiaries of the Joseph J. Miller Trust. Hall

            7    Mortgage has therefore, through its counsel notified the Sopaks that it does not intend
            8    to make such a loan.

            9    III.     THE STANDARDS FOR IN REM RELIEF ARE MET HERE

           10             11 U.S.C. § 362(d)(4) provides as follows:

           11                         (d) On request of a party in interest and after notice and a hearing,
                                the court shall grant relief from the stay . . .
           12
                                              (4) with respect to a stay of an act against real property
           13                          under subsection (a), by a creditor whose claim is secured by an
                                       interest in such real property, if the court finds that the filing of the
           14                          petition was part of a scheme to delay, hinder, or defraud creditors
                                       that involved either—
           15
                                                     (A) transfer of all or part ownership of, or other
           16                                 interest in, such real property without the consent of the
                                              secured creditor or court approval; or
           17
                                                     (B) multiple bankruptcy filings affecting such real
           18                                 property. If recorded in compliance with applicable State
                                              laws governing notices of interests or liens in real property,
           19                                 an order entered under paragraph (4) shall be binding in any
                                              other case under this title purporting to affect such real
           20                                 property filed not later than 2 years after the date of the
                                              entry of such order by the court, . . . .
           21

           22             The statutory requirement that the property be affected by “multiple bankruptcy

           23    filings is obviously met here. Three other bankruptcy cases were commenced within a

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                                                 7
                        MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                          AUTOMATIC STAY
Filed 11/04/19                                  Case 19-21640                                          Doc 172




            1    six month period before the filing of the current petition, and had the effect of

            2    defeating efforts to foreclose the Hall Mortgage trust deed.

            3            The requirement that the Court find that the petition was “part of a scheme to

            4    delay, hinder, or defraud creditors” is met here as well. “It is not common to have

            5    direct evidence of an artful plot or plan to deceive others. In general, the court must

            6    infer the existence and contents of a scheme from circumstantial evidence.” In re

            7    Duncan & Forbes Dev., Inc., 368 B.R. 27, 32 (Bankr. C.D. Cal. 2006). Strong
            8    circumstantial evidence indicates that these four petitions were filed only for the

            9    purpose of delaying foreclosure and not for any legitimate bankruptcy purpose. “A

           10    finding that a debtor has acted with merely the intent to delay . . . is now sufficient to
           11    grant relief from the automatic stay under § 362(d)(4), assuming all other statutory

           12    requirements are met.” In re Tejal Inv., LLC, 2012 WL 6186159, at *5 (Bankr. D.

           13    Utah 2012).
           14            Three of the Debtor’s four petitions were filed within 24 hours of a scheduled

           15    foreclosure sale under the Hall Mortgage trust deed. There is no evidence of a change

           16    in circumstances which would have justified the multiple filings. See, In re Briggs,

           17    2012 WL 3780542, at *6 (Bankr. N.D. Ill. 2012). These three cases were not

           18    prosecuted in any way, the Debtor having failed even to attend the scheduled meetings

           19    under 11 U.S.C. § 341a, and were ultimately dismissed by the Court for that reason. In

           20    the case of In re Procel, in rem relief was granted based upon numerous bankruptcy

           21    filings by the debtor and the debtor's brother, where each of the cases was

           22    procedurally dismissed shortly after the petition date. 467 B.R. 297, 309
           23    ///

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                                                8
                       MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                         AUTOMATIC STAY
Filed 11/04/19                                  Case 19-21640                                           Doc 172




            1            The current case was not prosecuted in good faith prior to its conversion to

            2    chapter 7. Cash collateral was not accounted for. Operating reports and court ordered

            3    status reports were not filed. It appears that the case continued under chapter 11 for

            4    the same purpose as pertained on the day that it was filed as a pro per chapter 13 case.

            5    The purpose was simply to delay a pending foreclosure on property of the Trust.

            6            Finally, in an apparent attempt to further the scheme, the Debtor perjured

            7    herself in an amendment to the Schedules by stating that the Incline Village property
            8    was owned by her in “fee simple.” Ms. Zuranich-Miller was apparently willing to lie

            9    after being advised by her new attorney that the automatic stay might not apply at all

           10    to property of the Joseph Miller Trust.
           11    IV.     IN REM RELIEF IS NECESSARY

           12            11 U.S.C. § 362(d)(4), uses mandatory rather than merely permissive language

           13    requiring that the Court shall grant in rem relief if it finds that the statutory

           14    requirements are met. Even if it were completely a matter of discretion, good cause

           15    exists to grant the requested relief.

           16            The Debtor may point out that future bankruptcy filings would not even give

           17    rise to a new automatic stay under 11 U.S.C. § 362(c)(4)(A). As shown by the McNeff

           18    Declaration, reticent foreclosure trustees will not rely on that provision and will

           19    instead require entry of an order of the bankruptcy court before proceeding. While 11

           20    U.S.C. §363(j) attempts to address this problem by allowing a mortgage lender to

           21    obtain a comfort order stating that the automatic stay is not in effect, those orders do

           22    little good in a case like this, where new bankruptcy petitions have been filed thick

           23    and fast. Given what has happened, including her intentional fraud and perjury on the

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                                                9
                       MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                         AUTOMATIC STAY
Filed 11/04/19                                  Case 19-21640                                          Doc 172




            1    bankruptcy schedules, it would not even be surprising if Debora Miller-Zuranich filed

            2    another bankruptcy petition even while this current case is pending.

            3          There is evidence that this misuse of the bankruptcy laws to thwart foreclosure

            4    was an effort coordinated by the Debtor’s brother John Miller, one of the four

            5    beneficiaries of the Joseph Miller Trust. Also, it appears that Beverley Sopak, the

            6    Debtor’s sister and another one of the four Trust beneficiaries, intended to affect the

            7    transfer of the Incline Village property out of the Trust in violation of the Trust
            8    Agreement, with the intent to simply to put the property “in the name of” the Sopaks.

            9    The willingness of the Millers to violate the Trust Agreement in that way, in order to

           10    vest the property in an individual rather than the Trust, is also good reason to grant in
           11    rem relief.

           12          The Court is well aware of the many ways in which transfers of property can be

           13    used to create new stays to thwart foreclosure. The status of the Debtor, Debora
           14    Zuranich-Miller, as successor trustee of the Joseph Miller trust can be changed (or

           15    purportedly changed) with a stroke of the pen. The entry of an in rem order is the only

           16    way to ensure against more abuses orchestrated by John Miller, Beverley Sopak and

           17    Debora Miller-Zuranich.

           18    V.    GRANTING RELIEF WILL HAVE NO IMPACT ON CREDITORS

           19          The newly appointed chapter 7 trustee should have no objection to this Motion.

           20    Granting relief from the automatic stay and completion of the foreclosure will have no

           21    effect on the bankruptcy estate nor on any possible future distribution to creditors. The

           22    Debtor has no power to revoke or amend the Joseph Miller Trust. The Trust

           23    Agreement forbids any distribution of the Incline Village property from the Trust until

           24    2027. The bankruptcy Trustee would have no authority or control over the trust
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                    MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                               AUTOMATIC STAY
Filed 11/04/19                                 Case 19-21640                                          Doc 172




            1    property, and could not compel a sale, much less a distribution of funds contrary to

            2    the Trust Agreement. Other property, specifically 9369 Newington Way, Elk Grove,

            3    CA, which is owned directly by the Debtor, can be liquidated to pay unsecured

            4    claims.

            5    VI.     CONCLUSION

            6            This is an extremely clear case of the abuse which Congress addressed by

            7    amending the Bankruptcy Code to provide for in rem relief. Granting this Motion does

            8    not divest the Miller family of its inherited property. It would simply end the game

            9    playing and require the group of Miller siblings, finally, to protect their inheritance by

           10    reinstating or repaying the debt to Hall Mortgage, now well over two years

           11    delinquent.

           12    DATE:         November 4, 2019           KIRBY & McGUINN, A P.C.

           13
           14                                             By: /s/ Dean T. Kirby, Jr.
                                                          Dean T. Kirby, Jr.
           15                                             Attorneys for Creditor
                                                          Hall Mortgage Fund, LP
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                       MEMORANDUM IN SUPPORT OF MOTION FOR IN REM RELIEF FROM
                                         AUTOMATIC STAY
